     Case 4:19-cv-07123-PJH Document 215-1 Filed 09/08/23 Page 1 of 3




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 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DECLARATION OF JOSEPH N.
                                               AKROTIRIANAKIS IN SUPPORT OF
13                                             DEFENDANTS NSO GROUP
                 Plaintiffs,
                                               TECHNOLOGIES LIMITED AND
14                                             Q CYBER TECHNOLOGIES LIMITED’S
           v.
                                               MOTION TO DISMISS FOR FORUM
15                                             NON CONVENIENS
     NSO GROUP TECHNOLOGIES LIMITED
16   and Q CYBER TECHNOLOGIES LIMITED,

                 Defendants.                   Date:   October 26, 2023
17                                             Time:   1:30 p.m.
                                               Ctrm:   3
18

19                                             Action Filed: 10/29/2019
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     DECLARATION OF JOSEPH N.                                      Case No. 4:19-cv-07123-PJH
     AKROTIRIANAKIS
     Case 4:19-cv-07123-PJH Document 215-1 Filed 09/08/23 Page 2 of 3




 1          I, Joseph N. Akrotirianakis, declare as follows:

 2          1.        I am an attorney licensed to practice law in the State of California. I am a partner

 3   at the law firm of King & Spalding LLP, and I am lead California counsel for Defendants NSO

 4   Group Technologies Limited and Q Cyber Technologies Limited (collectively “NSO Defendants”)

 5   in the above-entitled action. I submit this declaration in support of the NSO Defendants’ Motion

 6   to Dismiss for Forum Non Conveniens. Except as otherwise stated, I have personal knowledge of

 7   the facts set forth below and could competently testify to each fact averred.

 8          2.        On February 21, 2023, King & Spalding LLP applied to the Department of

 9   Commerce’s Bureau of Industry and Security (“BIS”) for a license to export information to the

10   NSO Defendants. The license was intended to permit King & Spalding to discuss the Pegasus

11   software, technology, and related information with the NSO Defendants, as well as similar items

12   and information received from third parties, so that King & Spalding could prepare the NSO

13 Defendants’ defense to the complaint in this action. The application was returned without action

14   on April 20, 2023. King & Spalding’s subsequent discussions with BIS have not resulted in a

15 license grant.

16          3.        NSO’s e-discovery consultant in this litigation, Deloitte, is represented by separate

17 counsel. Based on my discussions with those counsel, I understand that Deloitte, separately and

18 independently from King & Spalding or the NSO Defendants, on May 26, 2023, applied to BIS

19 for a license that would permit Deloitte to provide the NSO Defendants with industry-standard e-

20 discovery technology that would be required for the NSO Defendants to comply with their

21 discovery obligations in this matter. My understanding based on my discussions with Deloitte’s

22 counsel is that Deloitte has not yet been able to obtain the requested license from BIS. As of the

23 date of this declaration, that remains the case.

24          4.        Attached as Exhibit A is a true and correct copy of portions of Meta’s website,

25 available                          at                      https://www.metacareers.com/locations/tel-

26   aviv/?p[offices][0]=Tel%20Aviv%2C%20Israel&offices[0]=Tel%20Aviv%2C%20Israel.

27          5.        Attached as Exhibit B is a true and correct copy of an online article titled “Second

28   wave        of    Meta      layoffs     to     hit    Israel     next     week,”      available     at
     DECLARATION OF JOSEPH N.                                                    Case No. 4:19-cv-07123-PJH
     AKROTIRIANAKIS
     Case 4:19-cv-07123-PJH Document 215-1 Filed 09/08/23 Page 3 of 3




 1   https://www.calcalistech.com/ctechnews/article/s1olohbf3#:~:text=The%20company%20employ

 2   s%20about%20900%20workers%20in%20Israel.

 3          6.     Attached as Exhibit C is a data table titled “United States District Courts – National

 4   Judicial              Caseload                   Profile,”              available                 at

 5   https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile1231.2022.pdf.

 6          I declare under penalty of perjury that the foregoing is true and correct. Executed

 7   September 8, 2023, at Los Angeles, California.

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 9                                /s/Joseph N. Akrotirianakis
                                    JOSEPH N. AKROTIRIANAKIS
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     DEFENDANTS’ MOTION FOR FORUM                     2                        Case No. 4:19-cv-07123-PJH
     NON CONVENIENS
